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    The Honorable Donna M. Ryu




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    United States District Court
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    Oakland Courthouse, Courtroom 4                                                       N                             C
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    1301 Clay Street                                                                          D IS T IC T O
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    Oakland, CA 94612

    Re:     In Re: Lithium Ion Batteries Antitrust Litigation, All Actions
            Case No.: 13-md-02420 YGR (DMR)
             Joint Letter Requesting Extension of Time to Respond to Order to Submit Supplemental
             Information (ECF No. 670)

    Dear Judge Ryu:

              Direct Purchaser Plaintiffs, Indirect Purchaser Plaintiffs, and Defendants1 (collectively,
    the “Parties”) have received the Court’s Order to Submit Supplemental Information (“Order”)
    (ECF No. 670). Counsel for the Parties are dispersed across the country, need to coordinate with
    one another, and have limited time during overlapping business hours on the east and west coasts
    prior to the 9:00 a.m. (Pacific) deadline on March 10, 2015. Accordingly, the Parties
    respectfully request that the Court extend the deadline to respond to the Order by three hours
    until 12:00 noon (Pacific) on March 10, 2015.




             1
              All Parties except GS Yuasa Corporation are signatories to this letter. Despite diligent
    efforts, the Parties were unable to confer with counsel for GS Yuasa Corporation and obtain
    authorization.
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Respectfully submitted,

DATED: March 10, 2015

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                                         ATTESTATION

           I, Aaron M. Sheanin, hereby attest, pursuant to Northern District of California, Local

Rule 5-1(i)(3), that concurrence to the filing of this document has been obtained from each

signatory hereto.


Dated: March 9, 2015                                  By: /s/ Aaron M. Sheanin
                                                             Aaron M. Sheanin



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